    Case 4:09-cr-00043-SPF Document 130-1 Filed in USDC ND/OK on 08/19/09 Page 1 of 3
    Lindsey          Sp_n_·n_g_e_r'--             ~                                                                           _

    From:                "Oscar Stilley" <oscar@oscarstilley.com>
   To:                   "Lindsey Springer" <gnutella@mindspring.com>
   Sent:                 Wednesday, August 19,20092:06 PM
   SUbject:              FW: Theory of Count 1 conspiracy

Check this out.

Oscar


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but not all other jurisdictions to which Attorney is admitted. Ask for details, it's complicated.)


From: Snoke, Ken (USAOKN) [mailto:Ken.Snoke@usdoj.gov]
Sent: Wednesday, August 19, 2009 2:02 PM
To: O'Reilly, Charles A. (TAX); Oscar Stilley
Cc: Shern Brian M
Subject: RE: Theory of Count 1 conspiracy
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gett~ng dragged into a another debate \,\,'th StHfev or Springer, based on their bogus professed inabHitv to
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                    t[1e cnarges against t~lern~
KEN


From: O'Reilly, Charles A. (TAX)
Sent: Wednesday, August 19, 2009 12:26 PM
To: Oscar Stilley
Cc: Snoke, Ken (USAOKN); Shern Brian M
Subject: RE: Theory of Count 1 conspiracy

f\iIL   Stilley:

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   Case 4:09-cr-00043-SPF          t'~;j
                         0 't~::;Document 130-1 Filed in USDC ND/OK on 08/19/09 Page 2 of 3
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for the i\iottllern District of Okiahoma



From: Oscar Stilley [mailto:oscar@oscarstilley.com]
Sent: Wednesday, August 19, 2009 1:22 PM
To: O'Reilly, CharlesA. (TAX)
Cc: Lindsey Springer
Subject: Theory of Count 1 conspiracy

Dear Mr. O'Reilly:

                                                                                              1
I do appreciate you taking the time to help me understand the charge of Count conspiracy yesterday.
Before I proceed with a defense based upon my understanding, I'd like to make sure that I didn't
misunderstand anything. I have prepared the following from my notes, and also from grand jury
testimony pages 1442 to 1500. On the CD of grand jury testimony that I was provided I have the date
of 8-11-09. Please correct me if this date is wrong or this grand jury testimony was turned over before
that date, or if I should have been aware of the information contained therein, casting light upon the
grand jury's theory of the case, from discovery material previously turned over.

My understanding           of the grand jury's theory, with certain questions, is as follows:

                           1
            The Count conspiracy charge is intended to allege an agreement between Oscar Stil1ey and
            Lindsey Springer to impair the determination, assessment, and collection of the following
            amounts:


            00         $33,777.11
            01         $   500.00
            02               0.00
            03         $89,349.61
            04               0.00
            05         $33A63.00
            06               0.00 for this year and following years

            It is my understanding, based in part on grand jury testimony disclosed and in part on our
            conversation yesterday, that the grand jury's theory is not a theory that defendants entered
            into a conspiracy to evade the tax, but rather a conspiracy to impair the determination,
            assessment, and collection of those amounts.

            I remain unclear as to whether that the grand jury's theory excludes any conspiracy to evade
            the tax, or whether the grand jury's theory simply does not rely on a theory of conspiracy to
            evade the tax. The distinction might seem subtle, but I need to know if the contention is that
            this particular alleged conspiracy actually alleged excludes any conspiracy to evade the tax, as

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          4:09-cr-00043-SPF      Document
                 to simply not relying       130-1
                                       on a such     Filed inCould
                                                 a theory.    USDC youND/OK   on 08/19/09
                                                                       please elucidate      Page
                                                                                        on what the 3 of 3
         grand jury's theory is in this regard?

         My understanding is that the same basic theory applies for the years in which no tax was due,
         or the year 2001 when only $500 was due, as is the case in the years where a significant tax
         liability is claimed. In other words, the grand jury's theory posits a similar offense in those
         years, same being a conspiracy to impair the IRS' abilitiy to determine the taxability of various
         events or transactions related to Lindsey Springer, even though little or no assessment or
         collection activities would have been within the purview of IRSfunctions had the IRSbeen able
         to make its determinations.


         Thus it would appear to me that for the years 2002, 2004, 2006, 2007, and 2008, the conspiracy
         count encompasses only an alleged agreement to interfere with the determination of tax
         liabilities of Lindsey Springer. For the years 2000, 2003, and 2005 the alleged conspiracy
         involves an agreement to interfere with the determination, assessment, and collection of
         taxes. I'd need your explanation of which category 2001 falls into, or if there are additional
         nuances there.


         I still don't know what particular income taxes the alleged agreement covered. If you have this
         information in your possession or available to you, I'd like to be able to identify the specific
         income tax involved and also determine how much was deemed owed for each year. If your
         figures include nothing other than the tax imposed under Section 1 of Title 26, I'd be much
         obliged if you would commit to that theory.

         If I have overlooked any subtle nuance of the grand jury's theory, please explain. I am trying to
         accurately understand the exact nature of the grand jury's theory for Count 1.

Thank you very much for your kind consideration         of this request.

Oscar Stilley
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                                                                                                          8/19/2009
